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                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 Midas Green Technologies, LLC,

        Plaintiff,                                    Civil Action No. 6:22-cv-00050-ADA

                - vs. -                               Jury Trial Demanded

 Rhodium Enterprises, Inc.;
 Rhodium Technologies LLC;
 Rhodium 10mw LLC;
 Rhodium 2.0 LLC;
 Rhodium 30mw LLC;
 Rhodium Encore LLC;
 Rhodium Industries LLC;
 Rhodium JV LLC;
 Rhodium Renewables LLC;
 Rhodium Shared Services LLC;
 Rhodium Shared Services PR Inc.;
 Chase Blackmon;
 Cameron Blackmon; and
 Nathan Nichols,

        Defendants.


                     PRELIMINARY INFRINGEMENT CONTENTIONS

       Pursuant to the Court’s Standing Order Governing Proceedings (OGP) 4.0—Patent Cases,

General Deadlines, paragraph 2, Plaintiff hereby serves these preliminary infringement

contentions and related items.

       1.      Preliminary infringement contentions charts setting forth where in the accused

product(s) each element of the asserted claim(s) are found: Please see attached Exhibit A

(‘457 Patent) and Exhibit B (‘446 Patent).

       2.      Identify the priority date (i.e. the earliest date of invention) for each asserted claim:

As presently understood, the priority date (earliest date of invention) for all asserted claims is at


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least as early as March 14, 2012, and all asserted claims are entitled to a priority date (effective

filing date) of December 14, 2012.

       3.      Production of documents evidencing conception and reduction to practice for each

claimed invention: Please see MIDAS 0000001-77 and MIDAS 00000929-1020, which are being

produced separately.

       4.      Production of a copy of the file history for each patent in suit.        Please see

MIDAS 0000001-928, which are being produced separately.



Dated: April 11, 2022                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who have appeared electronically in this case are

being served on April 11, 2022 with a copy of this document via email.


                                            /s/ Henry Pogorzelski
                                            Henry Pogorzelski




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                                      Exhibit A
   Preliminary Infringement Contentions: ’457 Patent Claim Chart
Claim Element(s)                Where Found in Accused Instrumentalities
1. An appliance     To the extent that the preamble may be limiting:
immersion cooling
system compris-     Defendants Rhodium Technologies LLC and Rhodium Enterprises,
ing:                Inc. and their subsidiaries (together “Rhodium”), as well as the
                    Individual Defendants, make, own, develop, acquire, operate and
                    use appliance immersion cooling systems by way of liquid cooling
                    systems for mining cryptocurrency (the Accused Instrumentalities).
                    See Amendment No. 6 to Form S-1 at 1, Rhodium Enterprises, Inc.
                    (filed Jan. 18, 2022), available at https://www.sec.gov/Ar-
                    chives/ed-
                    gar/data/0001874985/000121390022002442/fs12022a6_rho-
                    dium.htm (“Our fully integrated infrastructure platform includes
                    our flagship liquid-cooling system . . . .”).

                    Rhodium is “an industrial-scale digital asset technology company”
                    that mines bitcoin with a “fully integrated infrastructure platform”
                    that includes “directly owning and operating [its] own customized
                    mining sites.” Amendment No. 4 to Form S-1 at 1, Rhodium Enter-
                    prises, Inc. (filed Dec. 14, 2021), available at https://sec.report/Doc-
                    ument/0001213900-21-065116/fs12021a4_rhodium.htm. “The cor-
                    nerstone of [Rhodium’s] infrastructure platform is [its] liquid-cool-
                    ing technology” which is “uniquely designed” to “maintain low op-
                    erating costs and manage energy consumption.” Id. Rhodium “de-
                    sign[s], build[s], operat[es], and maintain[s]” tank modules
                    adapted for use in a liquid appliance cooling system. Id. (“Our tech-
                    nology allows us to submerge our bitcoin miners in the fluid”); see
                    also id. at 58 (“We own specialized computers (‘miners’)”); “Min-
                    ers are comprised of sensitive electrical equipment”).




                    Exemplary Accused Instrumentalities

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a. a tank adapted     The Accused Instrumentalities include a tank, an example of which
to immerse in a       is depicted in the below drawing that on information and belief ap-
dielectric fluid a    proximates portions of the Accused Instrumentalities. The tank is
plurality of elec-    adapted to immerse in a dielectric fluid a plurality of electrical ap-
trical appliances,    pliances each in a respective appliance slot distributed vertically
each in a respec-     long, and extending transverse to, a long wall of the tank. See also
tive appliance slot   Amendment No. 6 to Form S-1 at 1, Rhodium Enterprises, Inc. (filed
distributed verti-    Jan. 18, 2022), available at https://www.sec.gov/Archives/ed-
cally along, and      gar/data/0001874985/000121390022002442/fs12022a6_rho-
extending trans-      dium.htm (“Our technology allows us to submerge our bitcoin min-
verse to, a long      ers in cooling fluid . . . .”); id. at 88 (“Liquid-cooling technology, on
wall of the tank,     the other hand, reduces these issues by submerging miners in a die-
the tank compris-     lectric, oil-based fluid that creates an environment more conducive
ing:                  to efficient heat extraction and transfer.”); see also “Learn More
                      About Rhodium,” Rhodium Enterprises (last accessed Apr. 6, 2022),
                      available at rhdm.com/#section1 (“Our platform includes our flag-
                      ship liquid-cooling system and efficiency optimization software.”).




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              Pictures from Rhodium’s website depict the appliance slots (with
              electrical appliances, i.e., bitcoin miners, installed) distributed ver-
              tically along, and extending transverse to, a long wall of the tank.
              The electrical appliances in the pictures are immersed in a dielec-
              tric fluid. See rdhm.com.




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i. a weir, inte-      The tank of the Accused Instrumentalities include a weir that is in-
grated horizon-       tegrated horizontally into the long wall of the tank adjacent all ap-
tally into the long   pliance slots, e.g. a horizontal line of weir holes just below the top
wall of the tank      long edge of the tank, having an overflow lip adapted to facilitate
adjacent all appli-   substantially uniform recovery of the dielectric fluid flowing
ance slots, having    through each appliance slot, e.g., in operation the level of the fluid
an overflow lip       in the tank of the Accused Instrumentalities is level with the weir
adapted to facili-    holes, facilitating a substantially uniform flow of the dielectric fluid
tate substantially    over the overflow lip of the weir holes, the weir holes being distrib-
uniform recovery      uted equidistantly along the length of the long wall of the tank of
of the dielectric     the Accused Instrumentalities, thus facilitating substantially uni-
fluid flowing         form recovery of the dielectric fluid flowing through each appliance

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through each ap-   slot in the tank. On information and belief, the weir of the tank is
pliance slot;      approximately depicted in the below drawing.

                   In the alternative, this element of limitation is present under the
                   doctrine of equivalents, in that a plurality of overflow lip segments
                   formed by the lower edges of the plurality of weir holes is an equiv-
                   alent of a weir having an overflow lip.




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              On information and belief, the weir of the Accused Instrumentalities
              is materially identical and substantially the same design as that de-
              picted in a YouTube video for Immersion Systems, a company
              founded by individual defendants Chase Blackmon, Cameron Black-
              mon, and Nathan Nichols. See
              https://www.youtube.com/watch?v=kQ6cycss5ds at 1:40.




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ii. a dielectric       The tank of the Accused Instrumentalities include a dielectric fluid
fluid recovery res-    recovery reservoir positioned vertically beneath the overflow lip of
ervoir positioned      the weir and adapted to receive the dielectric fluid as it flows over
vertically beneath     the weir. On information and belief, the below drawing approxi-
the overflow lip of    mately depicts the dielectric fluid recovery reservoir, with the bot-
the weir and           tom of the reservoir in blue
adapted to receive
the dielectric fluid
as it flows over
the weir;




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                      Rhodium’s website (at https://rhdm.com/#section2) also contains
                      pictures an array of accused tanks of the Accused Instrumentalities,
                      stacked three high.


b. a primary circu-   The Accused Instrumentalities include a primary circulation facility
lation facility       adapted to circulate the dielectric fluid through the tank, which in-
adapted to circu-     cludes a plenum, as described below.
late the dielectric
fluid through the
tank, comprising:
i. a plenum, posi-    The primary circulation facility of the Accused Instrumentalities in-
tioned adjacent       cludes a plenum, positioned adjacent the bottom of the tank,
the bottom of the

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tank, adapted to     adapted to dispense the dielectric fluid substantially uniformly up-
dispense the die-    wardly through each appliance slot. As approximately depicted in
lectric fluid sub-   the below drawings, on information and belief, the plenum includes
stantially uni-      two portions: a rectangular bar portion and a plate portion. The
formly upwardly      rectangular bar portion is underneath the plate portion. Dielectric
through each ap-     fluid first flows through the rectangular bar portion then upwards
pliance slot;        through the plate portion. The two portions of the plenum are de-
                     signed to dispense the dielectric fluid substantially uniformly up-
                     wardly through each appliance slot, which are above the plate por-
                     tion of the plenum.




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c. a secondary         The Accused Instrumentalities include a secondary fluid circulation
fluid circulation      facility adapted to extract heat from the dielectric fluid circulating
facility adapted to    in the primary circulation facility, and to dissipate to the environ-
extract heat from      ment the heat so extracted. On information and belief, the second-
the dielectric fluid   ary fluid circulation facility is a dry cooler or similar cooling device,
circulating in the     adapted to extract heat from the dielectric fluid and dissipate the
primary circula-       extracted heat to the environment. See, e.g., Amendment No. 6 to
tion facility, and     Form S-1 at 111, Rhodium Enterprises, Inc. (filed Jan. 18, 2022),
to dissipate to the    available at https://www.sec.gov/Archives/ed-
environment the        gar/data/0001874985/000121390022002442/fs12022a6_rho-
heat so extracted;     dium.htm (“During the nine months ended September 30, 2021, En-
and                    ergy Tech LLC purchased on behalf of the Company approximately
                       $0.1 million of dry coolers and related engineering services . . . .”);
                       id. at F-46 (“The Company purchased certain dry coolers from a re-
                       lated party at a cost of $409. These dry coolers are included in
                       property and equipment in the accompanying consolidated and
                       combined balance sheet.”). The hot dielectric fluid, after flowing

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                       through the appliances slots, over the weir, and down into the fluid
                       recovery reservoir, then flows out the outtake pipe connected to the
                       fluid recovery reservoir and flows to the secondary fluid circulation
                       facility for heat extraction. After extraction of heat in the secondary
                       fluid circulation facility, the re-cooled dielectric fluid is then cycled
                       back to a primary circulation facility to repeat the process.




d. a control facil-    The Accused Instrumentalities include a control facility adapted to
ity adapted to co-     coordinate the operation of the primary and secondary fluid circula-
ordinate the oper-     tion facilities as a function of the temperature of the dielectric fluid
ation of the pri-      in the tank.
mary and second-
ary fluid circula-     Specifically, the control facility includes an automated controller
tion facilities as a   with software that monitors and controls the pumps, dry coolers,
function of the        and temperature of the dielectric fluid in the tanks through the use

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temperature of         of sensors. See, e.g., Amendment No. 6 to Form S-1 at 88, Rhodium
the dielectric fluid   Enterprises, Inc. (filed Jan. 18, 2022), available at
in the tank.           https://www.sec.gov/Archives/ed-
                       gar/data/0001874985/000121390022002442/fs12022a6_rho-
                       dium.htm (“We have specifically designed mobile and web applica-
                       tions to meet the demands of an industrial-scale liquid-cooled min-
                       ing operation. Through a series of microsensors, machine-learning
                       and application programming interfaces, our proprietary mining
                       software provides real-time data that enable increased miner up-
                       time, hash rate and scalability. In tandem to developing our own
                       software, we employ sensors not only telling us the temperature of
                       each miner in real-time through visual heat maps, but we have also
                       installed microsensors throughout our liquid-cooling plumbing sys-
                       tem that measure flow rate, temperature and presume. Using ma-
                       chine learning technology and the data points collected by these
                       sensors, robotic process automation (RPA) triggers a tuning re-
                       sponse to the power intake as needed to either remediate or opti-
                       mize miner performance.”); see also “Learn More About Rhodium,”
                       Rhodium Enterprises (last accessed Apr. 6, 2022), available at
                       rhdm.com/#section1 (“Our platform includes our flagship liquid-
                       cooling system and efficiency optimization software. . . . Our pro-
                       prietary software was designed to optimize performance of our
                       miners and infrastructure in real-time allowing us to make quicker,
                       data-informed decisions, securely put miners online, and more ef-
                       fectively manage temperature, energy, and people.”).
2. The system of       The tank and primary circulation facility of the Accused Instrumen-
claim 1 wherein        talities of claim 1 comprise a highly-integrated module. Specifically,
the tank and pri-      the tank and primary circulation facility of the Accused Instrumen-
mary circulation       talities are adjacent and tightly co-located.
facility comprise a
highly-integrated
module.
5. The system of       The Accused Instrumentalities of claim 1 include a control facility
claim 1 wherein        that includes a communication facility adapted to facilitate monitor-
the control facility   ing and control of the control facility from a remote location. Spe-
further comprises      cifically, the communication facility includes mobile and web appli-
a communication        cations, and related software and/or hardware, that facilitate moni-
facility adapted to    toring and controlling microsensors. See, e.g., Amendment No. 6 to
facilitate monitor-    Form S-1 at 88, Rhodium Enterprises, Inc. (filed Jan. 18, 2022),
ing and control of     available at https://www.sec.gov/Archives/ed-
the control facility   gar/data/0001874985/000121390022002442/fs12022a6_rho-
from a remote lo-      dium.htm (“We have specifically designed mobile and web applica-
cation.                tions to meet the demands of an industrial-scale liquid-cooled min-
                       ing operation. Through a series of microsensors, machine-learning
                       and application programming interfaces, our proprietary mining



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                     software provides real-time data that enable increased miner up-
                     time, hash rate and scalability. In tandem to developing our own
                     software, we employ sensors not only telling us the temperature of
                     each miner in real-time through visual heat maps, but we have also
                     installed microsensors throughout our liquid-cooling plumbing sys-
                     tem that measure flow rate, temperature and presume. Using ma-
                     chine learning technology and the data points collected by these
                     sensors, robotic process automation (RPA) triggers a tuning re-
                     sponse to the power intake as needed to either remediate or opti-
                     mize miner performance.”); see also “Learn More About Rhodium,”
                     Rhodium Enterprises (last accessed Apr. 6, 2022), available at
                     rhdm.com/#section1 (“Our platform includes our flagship liquid-
                     cooling system and efficiency optimization software. . . . Our pro-
                     prietary software was designed to optimize performance of our
                     miners and infrastructure in real-time allowing us to make quicker,
                     data-informed decisions, securely put miners online, and more ef-
                     fectively manage temperature, energy, and people.”). On infor-
                     mation and belief, the mobile and web applications can be accessed
                     from a remote location.
6. A tank module     To the extent that the preamble may be limiting:
adapted for use in
an appliance cool-   Defendants Rhodium Technologies LLC and Rhodium Enterprises,
ing system, the      Inc. and their subsidiaries (together “Rhodium”), as well as the
tank module com-     Individual Defendants, make, own, develop, acquire, operate and
prising:             use tank modules adapted for use in appliance cooling systems by
                     way of liquid cooling systems for mining cryptocurrency (the Ac-
                     cused Instrumentalities). See Amendment No. 6 to Form S-1 at 1,
                     Rhodium Enterprises, Inc. (filed Jan. 18, 2022), available at
                     https://www.sec.gov/Archives/ed-
                     gar/data/0001874985/000121390022002442/fs12022a6_rho-
                     dium.htm (“Our fully integrated infrastructure platform includes
                     our flagship liquid-cooling system . . . .”).

                     Rhodium is “an industrial-scale digital asset technology company”
                     that mines bitcoin with a “fully integrated infrastructure platform”
                     that includes “directly owning and operating [its] own customized
                     mining sites.” Amendment No. 4 to Form S-1 at 1, Rhodium Enter-
                     prises, Inc. (filed Dec. 14, 2021), available at https://sec.report/Doc-
                     ument/0001213900-21-065116/fs12021a4_rhodium.htm. “The cor-
                     nerstone of [Rhodium’s] infrastructure platform is [its] liquid-cool-
                     ing technology” which is “uniquely designed” to “maintain low op-
                     erating costs and manage energy consumption.” Id. Rhodium “de-
                     sign[s], build[s], operat[es], and maintain[s]” tank modules
                     adapted for use in a liquid appliance cooling system. Id. (“Our tech-
                     nology allows us to submerge our bitcoin miners in the fluid”); see
                     also id. at 58 (“We own specialized computers (‘miners’)”); “Min-
                     ers are comprised of sensitive electrical equipment”).

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                      On information and belief, the below drawing approximately de-
                      picts the tank module of the Accused Instrumentalities, which is
                      adapted for use in an appliance cooling system (the tank module
                      also includes the control facility, which is not depicted below):




a. a tank adapted     The Accused Instrumentalities include a tank adapted to immerse in
to immerse in a       a dielectric fluid a plurality of electrical appliances, each in a re-
dielectric fluid a    spective appliance slot distributed vertically along, and extending
plurality of elec-    transverse to, a long wall of the tank.
trical appliances,
each in a respec-     Specifically, the tank holds dielectric fluid in which Rhodium’s min-
tive appliance slot   ing computers, i.e. electrical appliances, are submerged. See SEC
distributed verti-    Form 1 at 78 (“Liquid-cooling technology, on the other hand, re-
cally along, and      duces these issues by submerging miners in a dielectric, oil-based
                      fluid that creates an environment more conducive to efficient heat


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extending trans-    extraction and transfer.”); id. at 1 (“Our technology allows us to
verse to, a long    submerge our bitcoin miners in the fluid”).
wall of the tank,
the tank compris-   On information and belief, the below drawing approximately de-
ing:                picts Defendants’ tank (with electrical appliances installed) :




                    On information and belief, the below drawing approximately de-
                    picts the tank without the installed electrical appliances:




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                     On information and belief, in use, the tank is filled with dielectric
                     fluid, and a plurality of electrical appliances (i.e. bitcoin mining
                     computers, the tops of which are depicted in green) are placed in
                     respective appliance slots distributed vertically along, and extend-
                     ing transverse to, a long wall of the tank, as shown in approxima-
                     tion below:




i. A weir, inte-     The tank of the Accused Instrumentalities includes a weir, inte-
grated horizon-      grated horizontally adjacent all appliance slots, having an overflow
tally adjacent all   lip adapted to facilitate substantially uniform recovery of the dielec-
appliance slots,     tric fluid flowing through each appliance slot. Specifically, the tank
having an over-      includes circular holes that comprise a weir. There are weirs on
flow lip adapted     both sides of the tank.



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to facilitate sub-     On information and belief, the below drawing approximately de-
stantially uniform     picts the two weirs of the Accused Instrumentalities:
recovery of the di-
electric fluid flow-
ing through each
appliance slot;
and;




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                       The weir is integrated horizontally adjacent to the appliance slots
                       and the weir is adapted to facilitate substantially uniform recovery
                       of the dielectric fluid flowing through each appliance slot.




ii. A dielectric       The tank of the Accused Instrumentalities includes a dielectric fluid
fluid recovery res-    recovery reservoir positioned vertically beneath the overflow lip of
ervoir positioned      the weir and adapted to receive the fluid as it flows over the weir.
vertically beneath
the overflow lip of    Specifically, the Accused Instrumentality includes two dielectric
the weir and           fluid recovery reservoirs on either side of the tank that are posi-
adapted to receive     tioned beneath the weirs and are adapted to receive the dielectric
the dielectric fluid   fluid as it flows over the circular hole weirs and down into the res-
as it flows over       ervoirs, with the bottom of the reservoir shown in blue.
the weir;



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b. A primary cir-     The Accused Instrumentalities include a primary circulation facility
culation facility     adapted to circulate the dielectric fluid through the tank (as de-
adapted to circu-     tailed below).
late the dielectric
fluid through the
tank, comprising:
i. A plenum posi-     The primary circulation facility of the Second Accused Instrumen-
tioned adjacent       tality includes a plenum positioned adjacent the bottom of the tank,
the bottom of the     adapted to dispense the dielectric fluid substantially uniformly up-
tank, adapted to      wardly through each appliance slot.
dispense the die-
lectric fluid sub-    Specifically, the plenum of the Accused Instrumentalities includes
                      two components: (1) a rectangular bar or pipe that is adjacent to

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stantially uni-     the bottom of the tank with circular holes in either sides that are
formly upwardly     adapted to dispense fluid substantially uniformly upwardly through
through each ap-    each appliance slot; and (2) plates with a certain pattern of circular
pliance slot; and   holes, where the plates are placed above the top of the rectangular
                    bar or pipe and extending horizontally across the bottom of the en-
                    tire tank, also adjacent to the bottom of the tank. The plates with
                    their patterns of circular holes are adapted to dispense fluid sub-
                    stantially uniformly upwardly through each appliance slot. The die-
                    lectric fluid flows out of the holes of the first component then
                    through the holes of the second component and up through each ap-
                    pliance slot substantially uniformly.

                    On information and belief, the below drawings approximately de-
                    pict each component of the plenum.




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              The below drawing depicts the dielectric fluid inlet pipe connected
              to the plenum, below the outtake pipe that is connected to the die-
              lectric fluid recovery reservoirs:




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c. A control facil-   On information and belief, in operation, the Accused Instrumentali-
ity adapted to con-   ties’ tank module includes a control facility adapted to control the
trol the operation    operation of the primary fluid circulation facility as a function of
of the primary        the temperature of the dielectric fluid in the tank.
fluid circulation
facility as a func-   Specifically, the control facility includes an automated controller
tion of the tem-      with software that monitors and controls the pumps, dry coolers,
perature of the di-   and temperature of the dielectric fluid in the tanks through the use
electric fluid in     of sensors. See, e.g., Amendment No. 4 to Form S-1 at 74, Rhodium
the tank.             Enterprises, Inc. (filed Dec. 14, 2021), available at https://sec.re-
                      port/Document/0001213900-21-065116/fs12021a4_rhodium.htm
                      (“Additionally, we have developed and maintained proprietary soft-
                      ware to optimize performance of our miners and infrastructure in
                      real-time . . . . Specifically, our software allows us to make quicker,
                      and data-informed, decisions, securely and rapidly put miners
                      online and more effectively manage temperature and energy.”); id.


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                       at 79 (“In tandem to developing our own software, we employ sen-
                       sors not only telling us the temperature of each miner in real-time
                       through visual heat maps, but we have also installed microsensors
                       throughout our liquid-cooling plumbing system that measure flow
                       rate, temperature and presume. Using machine learning technology
                       and the data points collected by these sensors, robotic process auto-
                       mation (RPA) triggers a tuning response to the power intake as
                       needed to either remediate or optimize miner performance.”).

7. The module of       The Accused Instrumentalities of claim 6 includes a tank and pri-
claim 6 wherein        mary circulation facility that are a highly-integrated module. Specif-
the tank and pri-      ically, the tank and primary circulation facility of the Accused In-
mary circulation       strumentalities are adjacent and tightly co-located.
facility comprise a
highly-integrated
module.
10. The module of      The Accused Instrumentalities of claim 6 include a control facility
claim 6 wherein        that comprises a communication facility adapted to facilitate moni-
the control facility   toring and control of the control facility from a remote location.
further comprises      Specifically, the communication facility includes mobile and web
a communication        applications, and related software and/or hardware, that facilitate
facility adapted to    monitoring and controlling microsensors. See, e.g., Amendment No.
facilitate monitor-    6 to Form S-1 at 88, Rhodium Enterprises, Inc. (filed Jan. 18, 2022),
ing and control of     available at https://www.sec.gov/Archives/ed-
the control facility   gar/data/0001874985/000121390022002442/fs12022a6_rho-
from a remote lo-      dium.htm (“We have specifically designed mobile and web applica-
cation.                tions to meet the demands of an industrial-scale liquid-cooled min-
                       ing operation. Through a series of microsensors, machine-learning
                       and application programming interfaces, our proprietary mining
                       software provides real-time data that enable increased miner up-
                       time, hash rate and scalability. In tandem to developing our own
                       software, we employ sensors not only telling us the temperature of
                       each miner in real-time through visual heat maps, but we have also
                       installed microsensors throughout our liquid-cooling plumbing sys-
                       tem that measure flow rate, temperature and presume. Using ma-
                       chine learning technology and the data points collected by these
                       sensors, robotic process automation (RPA) triggers a tuning re-
                       sponse to the power intake as needed to either remediate or opti-
                       mize miner performance.”); see also “Learn More About Rhodium,”
                       Rhodium Enterprises (last accessed Apr. 6, 2022), available at
                       rhdm.com/#section1 (“Our platform includes our flagship liquid-
                       cooling system and efficiency optimization software. . . . Our pro-
                       prietary software was designed to optimize performance of our
                       miners and infrastructure in real-time allowing us to make quicker,
                       data-informed decisions, securely put miners online, and more ef-



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                    fectively manage temperature, energy, and people.”). On infor-
                    mation and belief, the mobile and web applications can be accessed
                    from a remote location.
11. A tank module   To the extent that the preamble may be limiting:
(10) adapted for
use in an appli-    Defendants Rhodium Technologies LLC and Rhodium Enterprises,
ance immersion      Inc. and their subsidiaries (together “Rhodium”), as well as the
cooling system,     Individual Defendants, make, own, develop, acquire, operate and
the tank module     use tank modules adapted for use in appliance cooling systems by
comprising:         way of liquid cooling systems for mining cryptocurrency (the Ac-
                    cused Instrumentalities).


                    Rhodium is “an industrial-scale digital asset technology company”
                    that mines bitcoin with a “fully integrated infrastructure platform”
                    that includes “directly owning and operating [its] own customized
                    mining sites.” Amendment No. 4 to Form S-1 at 1, Rhodium Enter-
                    prises, Inc. (filed Dec. 14, 2021), available at https://sec.report/Doc-
                    ument/0001213900-21-065116/fs12021a4_rhodium.htm. “The cor-
                    nerstone of [Rhodium’s] infrastructure platform is [its] liquid-cool-
                    ing technology” which is “uniquely designed” to “maintain low op-
                    erating costs and manage energy consumption.” Id. Rhodium “de-
                    sign[s], build[s], operat[es], and maintain[s]” tank modules
                    adapted for use in a liquid appliance cooling system. Id. (“Our tech-
                    nology allows us to submerge our bitcoin miners in the fluid”); see
                    also id. at 58 (“We own specialized computers (‘miners’)”); “Min-
                    ers are comprised of sensitive electrical equipment”).

                    On information and belief, the below drawing approximately de-
                    picts the Accused Instrumentalities, i.e. the tank module which is




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                       adapted for use in an appliance cooling system (the tank module
                       also includes the control facility, which is not depicted below):




a. a tank (12)         The Accused Instrumentality includes a tank adapted to immerse in
adapted to im-         a dielectric fluid a plurality of electrical appliances, each in a re-
merse in a dielec-     spective appliance slot distributed vertically along, and extending
tric fluid a plural-   transverse to, a long wall of the tank.
ity of electrical
appliances (16),       Specifically, the tank holds dielectric fluid in which Rhodium’s min-
each in a respec-      ing computers, i.e. electrical appliances, are submerged. See SEC
tive appliance slot    Form 1 at 78 (“Liquid-cooling technology, on the other hand, re-
(18) distributed       duces these issues by submerging miners in a dielectric, oil-based
vertically along,      fluid that creates an environment more conducive to efficient heat
and extending          extraction and transfer.”); id. at 1 (“Our technology allows us to
transverse to, a       submerge our bitcoin miners in the fluid”).
long wall of the


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tank (10), the tank   On information and belief, the below drawing approximately de-
comprising:           picts Defendants’ tank (with electrical appliances installed) :




                      On information and belief, the below drawing approximately de-
                      picts the tank without the installed electrical appliances:




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                      On information and belief, in use, the tank is filled with dielectric
                      fluid, and a plurality of electrical appliances (i.e. bitcoin mining
                      computers, the tops of which are depicted in green) are placed in
                      respective appliance slots distributed vertically along, and extend-
                      ing transverse to, a long wall of the tank, as shown in approxima-
                      tion below:




i. a weir (22), in-   The tank of the Accused Instrumentalities includes a weir, inte-
tegrated horizon-     grated horizontally into the long wall of the tank adjacent all appli-
tally into the long   ance slots, adapted to facilitate substantially uniform recovery of
wall of the tank      the dielectric fluid flowing through each appliance slot. Specifically,
(10) adjacent all     the tank includes circular holes that comprise a weir. There are
appliance slots       weirs on both sides of the tank.

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(18), adapted to
facilitate substan-   On information and belief, the below drawing approximately de-
tially uniform re-    picts the two weirs of the Accused Instrumentality:
covery of the die-
lectric fluid flow-
ing through each
appliance slot
(18);




                      The weir is integrated horizontally into the long wall of the tank ad-
                      jacent to the appliance slots and the weir is adapted to facilitate




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                    substantially uniform recovery of the dielectric fluid flowing
                    through each appliance slot.




b. a primary circu- The Accused Instrumentalities include a primary circulation facility
lation facility (28) adapted to circulate the dielectric fluid through the tank (as de-
adapted to circu-    tailed below).
late the dielectric
fluid through the
tank (10), com-
prising:




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    i. a plenum (36),     The primary circulation facility of the Accused Instrumentalities in-
    positioned adja-      cludes a plenum 1 positioned adjacent the bottom of the tank,
    cent the bottom of    adapted to dispense the dielectric fluid substantially uniformly up-
    the tank (10),        wardly through each appliance slot.
    adapted to dis-
    pense the dielec-     Specifically, the plenum of the Accused Instrumentalities includes
    tric fluid substan-   two components: (1) a rectangular bar or pipe that is adjacent to
    tially uniformly      the bottom of the tank with circular holes in either sides that are
    upwardly through      adapted to dispense fluid substantially uniformly upwardly through
    each appliance        each appliance slot; and (2) plates with a certain pattern of circular
    slot (18); and        holes, where the plates are placed above the top of the rectangular
                          bar or pipe and extending horizontally across the bottom of the en-
                          tire tank, also adjacent to the bottom of the tank. The plates with
                          their patterns of circular holes are adapted to dispense fluid sub-
                          stantially uniformly upwardly through each appliance slot. The die-
                          lectric fluid flows out of the holes of the first component then
                          through the holes of the second component and up through each ap-
                          pliance slot substantially uniformly.

                          On information and belief, the below drawings approximately de-
                          pict each component of the plenum.




1
 The Court in Midas Green Technologies, LLC v. Immersion Systems LLC has adopted the
parties’ agreed construction for the term “plenum,” construing it to mean “a structure for
dispensing liquid”. See Dkt. 84, at 9 (referring Dkt. 82-1, at 3.)

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              The below drawing depicts the dielectric fluid inlet pipe connected
              to the plenum, below the outtake pipe that is connected to the die-
              lectric fluid recovery reservoirs:




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c. a control facility   On information and belief, in operation, the Accused Instrumentali-
(58) adapted to         ties’ tank module includes a control facility adapted to control the
control the opera-      operation of the primary fluid circulation facility as a function of
tion of the pri-        the temperature of the dielectric fluid in the tank.
mary fluid circula-
tion facility (28)      Specifically, the control facility includes an automated controller
as a function of        with software that monitors and controls the pumps, dry coolers,
the temperature         and temperature of the dielectric fluid in the tanks through the use
of the dielectric       of sensors. See, e.g., Amendment No. 4 to Form S-1 at 74, Rhodium
fluid in the tank       Enterprises, Inc. (filed Dec. 14, 2021), available at https://sec.re-
(10).                   port/Document/0001213900-21-065116/fs12021a4_rhodium.htm
                        (“Additionally, we have developed and maintained proprietary soft-
                        ware to optimize performance of our miners and infrastructure in
                        real-time . . . . Specifically, our software allows us to make quicker,
                        and data-informed, decisions, securely and rapidly put miners

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                       online and more effectively manage temperature and energy.”); id.
                       at 79 (“In tandem to developing our own software, we employ sen-
                       sors not only telling us the temperature of each miner in real-time
                       through visual heat maps, but we have also installed microsensors
                       throughout our liquid-cooling plumbing system that measure flow
                       rate, temperature and presume. Using machine learning technology
                       and the data points collected by these sensors, robotic process auto-
                       mation (RPA) triggers a tuning response to the power intake as
                       needed to either remediate or optimize miner performance.”).

14. The module of      The Accused Instrumentalities of claim 11 includes a control facility
claim 11 wherein       that comprises a communication facility adapted to facilitate moni-
the control facility   toring and control of the control facility from a remote location.
further comprises      Specifically, the communication facility includes mobile and web
a communication        applications, and related software and/or hardware, that facilitate
facility (62, 64)      monitoring and controlling microsensors. See, e.g., Amendment No.
adapted to facili-     6 to Form S-1 at 88, Rhodium Enterprises, Inc. (filed Jan. 18, 2022),
tate monitoring        available at https://www.sec.gov/Archives/ed-
and control of the     gar/data/0001874985/000121390022002442/fs12022a6_rho-
control facility       dium.htm (“We have specifically designed mobile and web applica-
from a remote lo-      tions to meet the demands of an industrial-scale liquid-cooled min-
cation.                ing operation. Through a series of microsensors, machine-learning
                       and application programming interfaces, our proprietary mining
                       software provides real-time data that enable increased miner up-
                       time, hash rate and scalability. In tandem to developing our own
                       software, we employ sensors not only telling us the temperature of
                       each miner in real-time through visual heat maps, but we have also
                       installed microsensors throughout our liquid-cooling plumbing sys-
                       tem that measure flow rate, temperature and presume. Using ma-
                       chine learning technology and the data points collected by these
                       sensors, robotic process automation (RPA) triggers a tuning re-
                       sponse to the power intake as needed to either remediate or opti-
                       mize miner performance.”); see also “Learn More About Rhodium,”
                       Rhodium Enterprises (last accessed Apr. 6, 2022), available at
                       rhdm.com/#section1 (“Our platform includes our flagship liquid-
                       cooling system and efficiency optimization software. . . . Our pro-
                       prietary software was designed to optimize performance of our
                       miners and infrastructure in real-time allowing us to make quicker,
                       data-informed decisions, securely put miners online, and more ef-
                       fectively manage temperature, energy, and people.”). On infor-
                       mation and belief, the mobile and web applications can be accessed
                       from a remote location.
15. An appliance       As noted above, the Accused Instrumentalities comprise appliance
immersion cooling      cooling systems including the tank modules of claims 11 and 14.
system comprising



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a tank module ac-
cording to any one
of the preceding
claims 11 through
14.




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                                     Exhibit B
   Preliminary Infringement Contentions: ’446 Patent Claim Chart
Claim Elements                Where Found in Accused Instrumentalities
1. An appliance   To the extent that the preamble may be limiting:
immersion cool-
ing system com-   Defendants Rhodium Technologies LLC and Rhodium Enterprises,
prising:          Inc. and their subsidiaries (together “Rhodium”), as well as the
                  Individual Defendants, make, own, develop, acquire, operate and use
                  appliance immersion cooling systems by way of liquid cooling sys-
                  tems for mining cryptocurrency (the Accused Instrumentalities). See
                  Amendment No. 6 to Form S-1 at 1, Rhodium Enterprises, Inc. (filed
                  Jan. 18, 2022), available at https://www.sec.gov/Archives/ed-
                  gar/data/0001874985/000121390022002442/fs12022a6_rho-
                  dium.htm (“Our fully integrated infrastructure platform includes our
                  flagship liquid-cooling system . . . .”).



                  Rhodium is “an industrial-scale digital asset technology company”
                  that mines bitcoin with a “fully integrated infrastructure platform”
                  that includes “directly owning and operating [its] own customized
                  mining sites.” Amendment No. 4 to Form S-1 at 1, Rhodium Enter-
                  prises, Inc. (filed Dec. 14, 2021), available at https://sec.report/Doc-
                  ument/0001213900-21-065116/fs12021a4_rhodium.htm. “The cor-
                  nerstone of [Rhodium’s] infrastructure platform is [its] liquid-cool-
                  ing technology” which is “uniquely designed” to “maintain low oper-
                  ating costs and manage energy consumption.” Id. Rhodium “de-
                  sign[s], build[s], operat[es], and maintain[s]” tank modules adapted
                  for use in a liquid appliance cooling system. Id. (“Our technology al-
                  lows us to submerge our bitcoin miners in the fluid”); see also id. at
                  58 (“We own specialized computers (‘miners’)”); “Miners are com-
                  prised of sensitive electrical equipment”).




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                     Exemplary Accused Instrumentalities



a. a tank            The Accused Instrumentalities include a tank, an example of which is
adapted to im-       depicted in the below drawing that on information and belief ap-
merse in a die-      proximates portions of the Accused Instrumentalities. The tank is
lectric fluid a      adapted to immerse in a dielectric fluid a plurality of electrical appli-
plurality of elec-   ances each in a respective appliance slot distributed vertically long,
trical appli-
                     and extending transverse to, a long wall of the tank. See also Amend-
ances, each in a
                     ment No. 6 to Form S-1 at 1, Rhodium Enterprises, Inc. (filed Jan. 18,
respective appli-
                     2022), available at https://www.sec.gov/Archives/ed-
ance slot distrib-
uted vertically      gar/data/0001874985/000121390022002442/fs12022a6_rho-
along, and ex-       dium.htm (“Our technology allows us to submerge our bitcoin min-
tending trans-       ers in cooling fluid . . . .”); id. at 88 (“Liquid-cooling technology, on
verse to, a long     the other hand, reduces these issues by submerging miners in a die-
wall of the tank,    lectric, oil-based fluid that creates an environment more conducive
the tank com-        to efficient heat extraction and transfer.”); see also “Learn More
prising:             About Rhodium,” Rhodium Enterprises (last accessed Apr. 6, 2022),
                     available at rhdm.com/#section1 (“Our platform includes our flag-
                     ship liquid-cooling system and efficiency optimization software.”).




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             Pictures from Rhodium’s website depict the appliance slots (with
             electrical appliances, i.e., bitcoin miners, installed) distributed verti-
             cally along, and extending transverse to, a long wall of the tank. The
             electrical appliances in the pictures are immersed in a dielectric
             fluid. See rhdm.com.




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i. a weir, inte-     The tank of the Accused Instrumentalities include a weir that is inte-
grated horizon-      grated horizontally into the long wall of the tank adjacent all appli-
tally into the       ance slots, e.g. a horizontal line of weir holes just below the top long
long wall of the     edge of the tank, adapted to facilitate substantially uniform recovery
tank adjacent all    of the dielectric fluid flowing through each appliance slot, e.g., in op-
appliance slots,     eration the level of the fluid in the tank of the Accused Instrumental-
adapted to facili-   ities is level with the weir holes, facilitating a substantially uniform
tate substan-        flow of the dielectric fluid over the weir holes, the weir holes being
tially uniform       distributed equidistantly along the length of the long wall of the tank
recovery of the      of the Accused Instrumentalities, thus facilitating substantially uni-
dielectric fluid     form recovery of the dielectric fluid flowing through each appliance
flowing through


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each appliance   slot in the tank. On information and belief, the weir of the tank is ap-
slot;            proximately depicted in the below drawing.

                 In the alternative, this element of limitation is present under the
                 doctrine of equivalents, in that a plurality of weir holes is an equiva-
                 lent of a weir.




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             On information and belief, the weir of the Accused Instrumentalities
             is materially identical and substantially the same design as that de-
             picted in a YouTube video for Immersion Systems, a company
             founded by individual defendants Chase Blackmon, Cameron Black-
             mon, and Nathan Nichols. See
             https://www.youtube.com/watch?v=kQ6cycss5ds at 1:40.




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b. a primary cir-   The Accused Instrumentalities include a primary circulation facility
culation facility   adapted to circulate the dielectric fluid through the tank, which in-
adapted to circu-   cludes a plenum, as described below.
late the dielec-
tric fluid
through the
tank, compris-
ing:
i. a plenum, po-    The primary circulation facility of the Accused Instrumentalities in-
sitioned adja-      clude a plenum, positioned adjacent the bottom of the tank, adapted
cent the bottom     to dispense the dielectric fluid substantially uniformly upwardly
of the tank,        through each appliance slot. As approximately depicted in the below
adapted to dis-     drawings, on information and belief, the plenum includes two por-
pense the dielec-   tions: a rectangular bar portion and a plate portion. The rectangular
tric fluid sub-     bar portion is underneath the plate portion. Dielectric fluid first
stantially uni-     flows through the rectangular bar portion then upwards through the
formly upwardly     plate portion. The two portions of the plenum are designed to dis-
through each ap-    pense the dielectric fluid substantially uniformly upwardly through
pliance slot;       each appliance slot, which are above the plate portion of the plenum.




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c. a secondary       The Accused Instrumentalities include a secondary fluid circulation
fluid circulation    facility adapted to extract heat from the dielectric fluid circulating in
facility adapted     the primary circulation facility, and to dissipate to the environment
to extract heat      the heat so extracted. On information and belief, the secondary fluid
from the dielec-     circulation facility is a dry cooler or similar cooling device, adapted
tric fluid circu-    to extract heat from the dielectric fluid and dissipate the extracted
lating in the pri-   heat to the environment. See, e.g., Amendment No. 6 to Form S-1 at
mary circulation     111, Rhodium Enterprises, Inc. (filed Jan. 18, 2022), available at
facility, and to     https://www.sec.gov/Archives/ed-
dissipate to the     gar/data/0001874985/000121390022002442/fs12022a6_rho-
environment the      dium.htm (“During the nine months ended September 30, 2021, En-
heat so ex-          ergy Tech LLC purchased on behalf of the Company approximately
tracted; and         $0.1 million of dry coolers and related engineering services . . . .”);



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             id. at F-46 (“The Company purchased certain dry coolers from a re-
             lated party at a cost of $409. These dry coolers are included in prop-
             erty and equipment in the accompanying consolidated and combined
             balance sheet.”). The hot dielectric fluid, after flowing through the
             appliances slots, over the weir, and down into the fluid recovery res-
             ervoir, then flows out the outtake pipe connected to the fluid recov-
             ery reservoir and flows to the secondary fluid circulation facility for
             heat extraction. After extraction of heat in the secondary fluid circu-
             lation facility, the re-cooled dielectric fluid is then cycled back to a
             primary circulation facility to repeat the process.




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d. a control fa-     The Accused Instrumentalities include a control facility adapted to
cility adapted to    coordinate the operation of the primary and secondary fluid circula-
coordinate the       tion facilities as a function of the temperature of the dielectric fluid
operation of the     in the tank.
primary and sec-
ondary fluid cir-    Specifically, the control facility includes an automated controller
culation facili-     with software that monitors and controls the pumps, dry coolers,
ties as a func-      and temperature of the dielectric fluid in the tanks through the use
tion of the tem-     of sensors. See, e.g., Amendment No. 6 to Form S-1 at 88, Rhodium
perature of the      Enterprises, Inc. (filed Jan. 18, 2022), available at
dielectric fluid     https://www.sec.gov/Archives/ed-
in the tank.         gar/data/0001874985/000121390022002442/fs12022a6_rho-
                     dium.htm (“We have specifically designed mobile and web applica-
                     tions to meet the demands of an industrial-scale liquid-cooled min-
                     ing operation. Through a series of microsensors, machine-learning
                     and application programming interfaces, our proprietary mining
                     software provides real-time data that enable increased miner up-
                     time, hash rate and scalability. In tandem to developing our own
                     software, we employ sensors not only telling us the temperature of
                     each miner in real-time through visual heat maps, but we have also
                     installed microsensors throughout our liquid-cooling plumbing sys-
                     tem that measure flow rate, temperature and presume. Using ma-
                     chine learning technology and the data points collected by these sen-
                     sors, robotic process automation (RPA) triggers a tuning response to
                     the power intake as needed to either remediate or optimize miner
                     performance.”); see also “Learn More About Rhodium,” Rhodium En-
                     terprises (last accessed Apr. 6, 2022), available at rhdm.com/#sec-
                     tion1 (“Our platform includes our flagship liquid-cooling system and
                     efficiency optimization software. . . . Our proprietary software was
                     designed to optimize performance of our miners and infrastructure
                     in real-time allowing us to make quicker, data-informed decisions,
                     securely put miners online, and more effectively manage tempera-
                     ture, energy, and people.”).
2. The system of     The tank and primary circulation facility of the Accused Instrumen-
claim 1 wherein      talities of claim 1 comprise a tightly co-located module. Specifically,
the tank and pri-    the tank and primary circulation facility of the Accused Instrumen-
mary circulation     talities are adjacent and close in location.
facility comprise
a tightly co-lo-
cated module.
5. The system of     The Accused Instrumentalities of claim 1 include a control facility
claim 1 wherein      that includes a communication facility adapted to facilitate monitor-
the control facil-   ing and control of the control facility from a remote location. Specifi-
ity further com-     cally, the communication facility includes mobile and web applica-
prises a commu-      tions, and related software and/or hardware, that facilitate monitor-
nication facility    ing and controlling microsensors. See, e.g., Amendment No. 6 to
                     Form S-1 at 88, Rhodium Enterprises, Inc. (filed Jan. 18, 2022),


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adapted to facili-   available at https://www.sec.gov/Archives/ed-
tate monitoring      gar/data/0001874985/000121390022002442/fs12022a6_rho-
and control of       dium.htm (“We have specifically designed mobile and web applica-
the control facil-   tions to meet the demands of an industrial-scale liquid-cooled min-
ity from a re-       ing operation. Through a series of microsensors, machine-learning
mote location.       and application programming interfaces, our proprietary mining
                     software provides real-time data that enable increased miner up-
                     time, hash rate and scalability. In tandem to developing our own
                     software, we employ sensors not only telling us the temperature of
                     each miner in real-time through visual heat maps, but we have also
                     installed microsensors throughout our liquid-cooling plumbing sys-
                     tem that measure flow rate, temperature and presume. Using ma-
                     chine learning technology and the data points collected by these sen-
                     sors, robotic process automation (RPA) triggers a tuning response to
                     the power intake as needed to either remediate or optimize miner
                     performance.”); see also “Learn More About Rhodium,” Rhodium En-
                     terprises (last accessed Apr. 6, 2022), available at rhdm.com/#sec-
                     tion1 (“Our platform includes our flagship liquid-cooling system and
                     efficiency optimization software. . . . Our proprietary software was
                     designed to optimize performance of our miners and infrastructure
                     in real-time allowing us to make quicker, data-informed decisions,
                     securely put miners online, and more effectively manage tempera-
                     ture, energy, and people.”). On information and belief, the mobile
                     and web applications can be accessed from a remote location.
6. A tank module     To the extent that the preamble may be limiting:
adapted for use
in an appliance      Defendants Rhodium Technologies LLC and Rhodium Enterprises,
cooling system,      Inc. and their subsidiaries (together “Rhodium”), as well as the
the tank module      Individual Defendants, make, own, develop, acquire, operate and use
comprising:          tank modules adapted for use in appliance cooling systems by way of
                     liquid cooling systems for mining cryptocurrency (the Accused In-
                     strumentalities). See Amendment No. 6 to Form S-1 at 1, Rhodium
                     Enterprises, Inc. (filed Jan. 18, 2022), available at
                     https://www.sec.gov/Archives/ed-
                     gar/data/0001874985/000121390022002442/fs12022a6_rho-
                     dium.htm (“Our fully integrated infrastructure platform includes our
                     flagship liquid-cooling system . . . .”).

                     Rhodium is “an industrial-scale digital asset technology company”
                     that mines bitcoin with a “fully integrated infrastructure platform”
                     that includes “directly owning and operating [its] own customized
                     mining sites.” Amendment No. 4 to Form S-1 at 1, Rhodium Enter-
                     prises, Inc. (filed Dec. 14, 2021), available at https://sec.report/Doc-
                     ument/0001213900-21-065116/fs12021a4_rhodium.htm. “The cor-
                     nerstone of [Rhodium’s] infrastructure platform is [its] liquid-cool-
                     ing technology” which is “uniquely designed” to “maintain low oper-



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             ating costs and manage energy consumption.” Id. Rhodium “de-
             sign[s], build[s], operat[es], and maintain[s]” tank modules adapted
             for use in a liquid appliance cooling system. Id. (“Our technology al-
             lows us to submerge our bitcoin miners in the fluid”); see also id. at
             58 (“We own specialized computers (‘miners’)”); “Miners are com-
             prised of sensitive electrical equipment”).

             On information and belief, the below drawing approximately depicts
             the tank module of Accused Instrumentalities, i.e. the tank module,
             which is adapted for use in an appliance cooling system (the tank
             module also includes the control facility, which is not depicted be-
             low):




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a. A tank            The Accused Instrumentalities include a tank adapted to immerse in
adapted to im-       a dielectric fluid a plurality of electrical appliances, each in a respec-
merse in a die-      tive appliance slot distributed vertically along, and extending trans-
lectric fluid a      verse to, a long wall of the tank.
plurality of elec-
trical appli-        Specifically, the tank holds dielectric fluid in which Rhodium’s min-
ances, each in a     ing computers, i.e. electrical appliances, are submerged. See SEC
respective appli-    Form 1 at 78 (“Liquid-cooling technology, on the other hand, reduces
ance slot distrib-   these issues by submerging miners in a dielectric, oil-based fluid
uted vertically      that creates an environment more conducive to efficient heat extrac-
along, and ex-       tion and transfer.”); id. at 1 (“Our technology allows us to submerge
tending trans-       our bitcoin miners in the fluid”).
verse to, a long
wall of the tank,    On information and belief, the below drawing approximately depicts
the tank com-        Defendants’ tank (with electrical appliances installed) :
prising:




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             On information and belief, the below drawing approximately depicts
             the tank without the installed electrical appliances:




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                    On information and belief, in use, the tank is filled with dielectric
                    fluid, and a plurality of electrical appliances (i.e. bitcoin mining
                    computers, the tops of which are depicted in green) are placed in re-
                    spective appliance slots distributed vertically along, and extending
                    transverse to, a long wall of the tank, as shown in approximation be-
                    low:




i. A weir, inte-    The tank of the Accused Instrumentalities includes a weir, integrated
grated horizon-     horizontally into the long wall of the tank adjacent all appliance
tally into the      slots, adapted to facilitate substantially uniform recovery of the die-
long wall of the    lectric fluid flowing through each appliance slot. Specifically, the
tank adjacent all   tank includes circular holes that comprise a weir. There are weirs on
appliance slots,    both sides of the tank.




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adapted to facili- On information and belief, the below drawing approximately depicts
tate substan-      the two weirs of the Accused Instrumentalities:
tially uniform
recovery of the
dielectric fluid
flowing through
each appliance
slot; and;




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                    The weir is integrated horizontally into the long wall of the tank ad-
                    jacent to the appliance slots and the weir is adapted to facilitate sub-
                    stantially uniform recovery of the dielectric fluid flowing through
                    each appliance slot.




b. A primary cir-   The Accused Instrumentalities include a primary circulation facility
culation facility   adapted to circulate the dielectric fluid through the tank (as detailed
adapted to circu-   below).
late the dielec-
tric fluid
through the




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tank, compris-
ing:
i. A plenum posi-   The Accused Instrumentalities include a plenum positioned adjacent
tioned adjacent     the bottom of the tank, adapted to dispense the dielectric fluid sub-
the bottom of       stantially uniformly upwardly through each appliance slot.
the tank,
adapted to dis-     Specifically, the plenum of the Accused Instrumentalities includes
pense the dielec-   two components: (1) a rectangular bar or pipe that is adjacent to the
tric fluid sub-     bottom of the tank with circular holes in either sides that are
stantially uni-     adapted to dispense fluid substantially uniformly upwardly through
formly upwardly     each appliance slot; and (2) plates with a certain pattern of circular
through each ap-    holes, where the plates are placed above the top of the rectangular
pliance slot; and   bar or pipe and extending horizontally across the bottom of the en-
                    tire tank, also adjacent to the bottom of the tank. The plates with
                    their patterns of circular holes are adapted to dispense fluid substan-
                    tially uniformly upwardly through each appliance slot. The dielectric
                    fluid flows out of the holes of the first component then through the
                    holes of the second component and up through each appliance slot
                    substantially uniformly.

                    On information and belief, the below drawings approximately depict
                    each component of the plenum.




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             The below drawing depicts the dielectric fluid inlet pipe connected to
             the plenum, below the outtake pipe that is connected to the dielectric
             fluid recovery reservoirs:




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c. A control fa-     On information and belief, in operation, the Accused Instrumentali-
cility adapted to    ties’ tank module includes a control facility adapted to control the
control the oper-    operation of the primary fluid circulation facility as a function of the
ation of the pri-    temperature of the dielectric fluid in the tank.
mary fluid circu-
lation facility as   Specifically, the control facility includes an automated controller
a function of the    with software that monitors and controls the pumps, dry coolers,
temperature of       and temperature of the dielectric fluid in the tanks through the use
the dielectric       of sensors. See, e.g., Amendment No. 4 to Form S-1 at 74, Rhodium
fluid in the tank.   Enterprises, Inc. (filed Dec. 14, 2021), available at https://sec.re-
                     port/Document/0001213900-21-065116/fs12021a4_rhodium.htm
                     (“Additionally, we have developed and maintained proprietary soft-
                     ware to optimize performance of our miners and infrastructure in
                     real-time . . . . Specifically, our software allows us to make quicker,
                     and data-informed, decisions, securely and rapidly put miners online


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                     and more effectively manage temperature and energy.”); id. at 79
                     (“In tandem to developing our own software, we employ sensors not
                     only telling us the temperature of each miner in real-time through
                     visual heat maps, but we have also installed microsensors through-
                     out our liquid-cooling plumbing system that measure flow rate, tem-
                     perature and presume. Using machine learning technology and the
                     data points collected by these sensors, robotic process automation
                     (RPA) triggers a tuning response to the power intake as needed to ei-
                     ther remediate or optimize miner performance.”).

7. The module of     The Accused Instrumentalities of claim 6 include a tank and primary
claim 6 wherein      circulation facility that are a tightly co-located module. Specifically,
the tank and pri-    the tank and primary circulation facility of the Accused Instrumen-
mary circulation     talities are adjacent and close in location.
facility comprise
a tightly co-lo-
cated module.
10. The module       The Accused Instrumentalities of claim 6 include a control facility
of claim 6           that comprises a communication facility adapted to facilitate moni-
wherein the con-     toring and control of the control facility from a remote location. Spe-
trol facility fur-   cifically, the communication facility includes mobile and web appli-
ther comprises a     cations, and related software and/or hardware, that facilitate moni-
communication        toring and controlling microsensors. See, e.g., Amendment No. 6 to
facility adapted     Form S-1 at 88, Rhodium Enterprises, Inc. (filed Jan. 18, 2022),
to facilitate        available at https://www.sec.gov/Archives/ed-
monitoring and       gar/data/0001874985/000121390022002442/fs12022a6_rho-
control of the       dium.htm (“We have specifically designed mobile and web applica-
control facility     tions to meet the demands of an industrial-scale liquid-cooled min-
from a remote        ing operation. Through a series of microsensors, machine-learning
location.            and application programming interfaces, our proprietary mining
                     software provides real-time data that enable increased miner up-
                     time, hash rate and scalability. In tandem to developing our own
                     software, we employ sensors not only telling us the temperature of
                     each miner in real-time through visual heat maps, but we have also
                     installed microsensors throughout our liquid-cooling plumbing sys-
                     tem that measure flow rate, temperature and presume. Using ma-
                     chine learning technology and the data points collected by these sen-
                     sors, robotic process automation (RPA) triggers a tuning response to
                     the power intake as needed to either remediate or optimize miner
                     performance.”); see also “Learn More About Rhodium,” Rhodium En-
                     terprises (last accessed Apr. 6, 2022), available at rhdm.com/#sec-
                     tion1 (“Our platform includes our flagship liquid-cooling system and
                     efficiency optimization software. . . . Our proprietary software was
                     designed to optimize performance of our miners and infrastructure
                     in real-time allowing us to make quicker, data-informed decisions,




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             securely put miners online, and more effectively manage tempera-
             ture, energy, and people.”). On information and belief, the mobile
             and web applications can be accessed from a remote location.




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